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mower ( /200> Case; 1:11-CV'03568 Document #: 27 Fl|ed: 04/24/12 Page 1 of 1 Page|D #:78 U\(@€\ §

 

 

 

 

 

 

 

DOCKET ENTRY TEXT:

 

the plaintiffs.

 

 

[for further detail See separate order]

Name of Assigned Judge Robert W Gettleman Sitting Judge if Other
or Magistrate Judge than Assigned Judge
CASE NUMBER 11 C 3568 DATE 4/24/2012
CASE Laborers’ Pension Fund v Creative Design Construction, Inc.
TITLE

Plaintift’ S motion for entry of a turnover order is granted. Title Services, Ine. Shall turnover $20,848.54 to

[Docketing to mail notice]

 

 

 

 

00:03

 

 

Courtroom Deputy GDS

 

 

 

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